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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 ARENA IP, LLC,

                Plaintiff,

 v.                                                Civil Action No. 6:23-cv-054-DAE

 VERIZON COMMUNICATIONS, INC.,

                Defendant.                         JURY TRIAL DEMANDED



ORDER DENYING PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT EXPEDITED
   VENUE DISCOVERY AND GRANTING VERIZON’S MOTION TO DISMISS

       Before the Court is Plaintiff’s Motion for Leave to Conduct Expedited Venue Discovery

(Dkt. 19). After consideration of said briefing, the Court finds that Plaintiff’s Motion for Leave is

hereby DENIED.

       Furthermore, the Court GRANTS Defendant’s Motion to Dismiss for Improper Venue

(Dkt. 21) as Unopposed.
